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                         IN THE UNITED STATES DISTRICT COURT
                 SOUTHERN DISTRICT OF OHIO – Western Division at Cincinnati
HUNTER DOSTER, et. al.                         :       Case No. 1:22-CV-84
          Plaintiffs                           :
v.                                             :
FRANK KENDALL, et. al.                         :
          Defendants                           :
                                 NOTICE OF FILING APPENDIX
          Plaintiffs, by and through Counsel, give notice of filing the following Appendix, in

support of this action. This appendix1 contains the following:

    Certification                                   Declaration of Hunter Doster authenticating
                                                    materials
    Exhibit 1                                       September 3, 2021, Order from Hon. Frank
                                                    Kendall re: Vaccine Mandate
    Exhibit 2                                       PCS Policy Change, sent to AETC
    Exhibit 3                                       Lt. Hunter Doster accommodation request,
                                                    chaplain interview, and other administrative
                                                    materials.
    Exhibit 4                                       SRA Joe Dills administrative materials.
    Exhibit 5                                       Col. Jason Anderson administrative materials.
    Exhibit 6                                       A1C Kendra Colantanio administrative
                                                    materials.
    Exhibit 7                                       Maj. Paul Clement administrative materials.
    Exhibit 8                                       Maj. Benjamin Leiby administrative
                                                    materials.
    Exhibit 9                                       Lt. Brett Martin administrative materials.
    Exhibit 10                                      Lt. Connor McCormick administrative
                                                    materials.
    Exhibit 11                                      Maj. Heidi Mosher administrative materials.
    Exhibit 12                                      Capt. Peter Norris administrative materials.
    Exhibit 13                                      Maj. Patrick Pottinger administrative
                                                    materials.
    Exhibit 14                                      Lt. Alex Ramsperger administrative materials.
    Exhibit 15                                      Maj. Daniel Reineke administrative materials.
    Exhibit 16                                      Capt. Benjamin Rinaldi administrative
                                                    materials.

1
 The undersigned Counsel have redacted Personal Identifying Information pursuant to FRCP 5.2
in these materials.
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Exhibit 17                             Lt. Col. Douglas Ruyle administrative
                                       materials.
Exhibit 18                             SMSgt Christopher Schuldes administrative
                                       materials.
Exhibit 19                             Lt. Col. Edward Stapanon administrative
                                       materials.
Exhibit 20                             SSgt Adam Theriault administrative
                                       materials.


                                          Respectfully submitted,

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                                CERTIFICATE OF SERVICE

       I certify that I have served a copy of the foregoing by CM/ECF, this 16 day of February,

2022, and, further, by ordinary U.S. mail to the Defendants, including by serving the United

States Defendant through ordinary mail upon the Attorney General of the United States and the

U.S. Attorney for the Southern District of Ohio.


                                                            /s/ Christopher Wiest___________
                                                            Christopher Wiest (OH 0077931)
